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                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         CASE NO. 1:15-CR-00286-DAD-BAM-3

12                               Plaintiff,            ORDER GRANTING MOTION TO WITHDRAW
                                                       DEFENDANT’S SENTENCING MEMORANDUM
13                         v.
                                                       (Doc. No. 272)
14   RAMSEY JERIES FARRAJ,

15                               Defendant.

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17          Pursuant to the motion by the defendant, sealed pleading (Doc. No. 263) is WITHDRAWN.

18 Defendant shall file redacted version to remove all references by name of a cooperating witness for the

19 government, as well as any personally identifying information contained in Exhibits B-E.

20 IT IS SO ORDERED.

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        Dated:    August 15, 2017
22                                                   UNITED STATES DISTRICT JUDGE

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